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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

    DEPRONCE ANTWON BURNETT,

          Plaintiff,                                                          ORDER
    v.
                                                                    Case No. 24-cv-850-wmc
    LISA GUNDERSON, et al.

          Defendants.


         Plaintiff DePronce Antwon Burnett has filed a proposed civil complaint, but has neither

paid the filing fee, nor requested leave to proceed without prepayment. For this case to

proceed, plaintiff must pay the $405 filing fee 1 or submit a properly supported motion for leave

to proceed without prepayment by December 27, 2024.

         A motion for leave to proceed without prepayment must be accompanied by a certified

copy of plaintiff’s inmate trust fund account statement (or institutional equivalent) for the six-

month period immediately preceding the filing of the complaint. 28 U.S.C. § 1915(a)(2). If I

find that plaintiff is indigent, I will calculate an initial partial payment of the filing fee that

plaintiff must pay before the court can screen the complaint on the merits under 28 U.S.C. §

1915(e)(2). Thereafter, plaintiff must pay the balance of the filing fee in installments.


                                               ORDER

         IT IS ORDERED that plaintiff DePronce Antwon Burnett may have until December

27, 2024 to submit the $405 filing fee or a motion for leave to proceed without prepayment

and a trust fund account statement for the period beginning approximately June 2, 2024 and


1
 Effective December 1, 2023, the cost to file a civil action in federal court is $405 — a $350 statutory
fee plus a $55 administrative fee that does not apply to persons granted in forma pauperis status under
28 U.S.C. § 1915.
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ending approximately December 2, 2024. If plaintiff fails to respond to this order by December

27, 2024, then I will assume that plaintiff wishes to withdraw this action voluntarily. In that

event, the case will be dismissed without prejudice to plaintiff refiling at a later date.




               Entered this 4th day of December, 2024.

                                      BY THE COURT:


                                      /s/
                                      ANDREW R. WISEMAN
                                      United States Magistrate Judge
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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

 DEPRONCE ANTWON BURNETT,

        Plaintiff,                                                        ORDER
 v.
                                                                 Case No. 24-cv-850-wmc
 LISA GUNDERSON, et al.

        Defendants.

               PRISONER REQUEST TO PROCEED IN DISTRICT COURT
                   WITHOUT PREPAYING THE FULL FILING FEE

Answer the following questions to the best of your ability.
Note: If you do not tell the truth, the court may dismiss your lawsuit.

I.     Personal Information

1)     Your name: ___________________________________________________________

       (a)     State the place of your incarceration and provide your prisoner identification
               number:

       _______________________________________               _____________________________
                   (place)                                               (number)

       (b)     Are you employed at the institution?                  □Yes          □ No

       (c)     Do you receive any payment from the institution?      □Yes          □ No

Attach a printout of your prison trust account statement showing transactions for the six-
month period immediately preceding the filing of this request and showing the current
balance of your account.

2)     Do you have any dependents that you are responsible for supporting?

       □ Yes           □ No

       If “yes,” list them below.
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Name or initials (for          Relationship to You             Age           Amount of Support
minor children only)                                                          Provided per Month

________________________         _________________             ________        $____________

________________________         _________________             ________        $____________

________________________         _________________             ________        $____________

II.    Property or Assets: - If you are married, your answers must include your spouse's
       property.

1)     Do you own a car?

       □ Yes            □ No                                   If “yes,” list the car(s) below:

       Make and Model                                          Year            Approximate Current
                                                                               Value

_______________________________________________ __________                     $________________

_______________________________________________ __________                     $________________

2)     Do you own your home(s)?                  □ Yes         □ No

       If “Yes,” state the approximate value(s).         $ ____________________

       What is the amount of equity (assessed value of residence minus outstanding
       mortgage balance) in the home(s)? $ ____________________

3)     Do you have any cash or checking, savings, or other similar accounts?
       □ Yes        □ No

       If “Yes,” state the total of such sums.           $ ____________________

4)     Do you own any other property of value, such as real estate, stocks, bonds, trusts, or
       individual retirement accounts (e.g., IRA, 401 k), artwork, or jewelry?

       □ Yes            □ No

       If “Yes,” describe the property and the approximate value(s).

       ______________________________________________________________________

       ______________________________________________________________________
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III.   Litigation History

        For each federal lawsuit that you recall having filed, list as much of the following
information that you remember about each case: The name of the case (that is, the plaintiffs and
the defendants), the case number or year of filing, and the federal district in which you filed the
case. Use more paper if needed.

Case Name                             Case number                    Federal district
(Plaintiffs and defendants)           (or year of filing)


________________________              ____________________           _______________________


________________________              ____________________           _______________________


________________________              ____________________           _______________________


________________________              ____________________           _______________________


IV.     Other Circumstances - Describe any other financial circumstance(s) that you would
       like the court to consider when reviewing this petition.

____________________________________________________________________________

____________________________________________________________________________

____________________________________________________________________________




I, ____________________, declare that I am the plaintiff bringing this complaint. I declare that
I am unable to prepay the full filing fee and that I am entitled to the relief sought in the
complaint.


___________________________                   _________________________________________
Date                                          Signature - Signed Under Penalty of Perjury
